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  1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
  2                              EASTERN DIVISION
  3    EDIBLE IP, LLC, and EDIBLE                     )   No. 20 C 5840,
       ARRANGEMENTS, LLC,                             )
  4                                                   )
                            Plaintiffs,               )
  5                                                   )
                      vs.                             )
  6                                                   )
       MC BRANDS, LLC, and GREEN THUMB                )
  7    INDUSTRIES, INC.,                              )
                                                      )
  8                     Defendants.                   )
       ----------------------------------             )
  9    MC BRANDS, LLC, and GREEN THUMB                )
       INDUSTRIES, INC.,                              )
 10                                                   )
                  Counter-Plaintiffs,                 )
 11                                                   )
                      vs.                             )
 12                                                   )
       EDIBLE IP, LLC, and EDIBLE                     )
 13    ARRANGEMENTS, LLC,                             )   Chicago, Illinois
                                                      )   April 7, 2022
 14               Counter-Defendants.                 )   1:45 p.m.
 15                           TRANSCRIPT OF PROCEEDINGS
                            BEFORE THE HON. SARA L. ELLIS
 16
       APPEARANCES:
 17
       For the Plaintiffs/
 18    Counter-Defendants:         MR. JOHN M. BOWLER
                                   MS. LINDSAY M. HENNER
 19                                Troutman Pepper Hamilton Sanders, LLP,
                                   600 Peachtree Street NE, Suite, 3000,
 20                                Atlanta, Georgia 30308
 21    For the Defendants/
       Counter-Plaintiffs:         MR. CAMERON M. NELSON
 22                                Greenberg Traurig LLC,
                                   77 West Wacker Drive, Suite 3100,
 23                                Chicago, Illinois 60601
 24
                     Patrick J. Mullen, Official Court Reporter
 25                     219 South Dearborn Street, Room 1412
                              Chicago, Illinois 60604
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  1          (Telephonic proceedings on the record.)
  2               THE CLERK: 2020 CV 5840, Edible IP, LLC, versus MC
  3    Brands, LLC.
  4               MS. HENNER: Good afternoon, Your Honor. This is
  5    Lindsay Henner on behalf of plaintiffs, and I have with me my
  6    colleague John Bowler.
  7               MR. NELSON: Good afternoon, Your Honor. This is
  8    Cameron Nelson on behalf of MC Brands and Green Thumb
  9    Industries.
 10               THE COURT: All right. Good afternoon.
 11               Okay. So I've got your status report, and then I have
 12    the three motions to compel. Are there going to be any
 13    additional motions to compel?
 14               MR. NELSON: There may be, Your Honor.
 15               THE REPORTER: I'm sorry. Who is talking?
 16               MR. NELSON: This is Cameron Nelson for the
 17    defendants.
 18               There may be an additional motion to compel. I'm
 19    drafting one now. Whether it will ultimately be necessary, you
 20    know, we still have to go through our meet-and-confers so it's
 21    possible.
 22               THE COURT: Okay. What would that one be about?
 23               MR. NELSON: We've been asking for documents, the
 24    results of keyword searches, since November. We've been told
 25    that they're underway, but we just can't get a date certain by
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  1    which they're going to be produced. We're told that there are
  2    many, many, many responsive documents, so we haven't been able
  3    to start depositions of defendants since we're waiting for
  4    these documents. We're told that this production will be
  5    sizable, but we just can't seem to get a date by which this is
  6    going to be complete.
  7               THE COURT: All right.
  8               MS. HENNER: Your Honor, could I respond to that?
  9               THE COURT: Yes. I was going to ask you. When do you
 10    think -- well, where are you in terms of your keyword searches?
 11               MS. HENNER: Sure. I'll start by saying that
 12    information has been communicated to defendants' counsel, and
 13    we, in fact, made a partial production of those documents this
 14    week. There are a number of additional documents, less than
 15    3,000 remaining, that we are conducting a closer privilege
 16    review of because our review software identified those
 17    documents as hitting on potentially privileged terms. So that
 18    linear review is underway currently by a document review team,
 19    and what we have already disclosed to defendants' counsel is
 20    that we intend to produce those documents next week.
 21               THE COURT: Okay. So you think by -- let's see. So
 22    you would think that by the 15th of April you'd be able to get
 23    those done?
 24               MS. HENNER: Yes, Your Honor.
 25               THE COURT: Okay. And does that work with the
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  1    defendants?
  2               MR. NELSON: We have a number of depositions to
  3    schedule, you know, so I'm eager to get started on those. We
  4    need deposition dates after the 15th for -- I think we're at
  5    four or five witnesses that need to be set. So some are
  6    employees, and some are not. There's one who's sort of an
  7    ex-employee whose status is a little uncertain. Counsel on
  8    both sides are trying to get ahold of him. But, you know, a
  9    date certain is a good start.
 10               THE COURT: All right. So then I know that defendants
 11    were also putting together their supplemental answers to the
 12    plaintiffs' interrogatories. Have you -- I know that you
 13    stated you were going to serve your answers by April 1st. Have
 14    you done that?
 15               MR. NELSON: We served them on Tuesday, the 5th.
 16               THE COURT: Okay. All right. Then how many
 17    witnesses? It looks like -- so it looks like in your status
 18    report there are about eight or so depositions from the
 19    defendants' side that the defendants have identified, and then
 20    plaintiffs have two. So that would put you at about ten
 21    depositions. Does that sound about right?
 22               MR. NELSON: It's about right. We did complete one of
 23    the defendants' depositions on the 30th, so there's one checked
 24    off.
 25               THE COURT: Okay. All right. So if I extended fact
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  1    through June 17th, is that something that would work, or do you
  2    need more time?
  3               MR. NELSON: For defendants? As long as we can get
  4    this document production and get the depositions rolling, I
  5    think that should work. I think my only fuzzy numbers right
  6    now on dates are to the third party witnesses. Mr. Abdullah
  7    was served this week. We're politely calling him to try to get
  8    a sense for when he might actually be able to sit for a
  9    deposition. Mr. Sluben, my understanding is that both we,
 10    defendants' and plaintiff's counsel, are trying to reach him
 11    and get him to sit for a deposition as well. I see no reason
 12    why we would have any other scheduling challenges beyond those.
 13               MS. HENNER: And, Your Honor, from plaintiffs'
 14    perspective, the two months sort of in a vacuum seem
 15    sufficient, especially for the discovery that plaintiffs intend
 16    to conduct during that period.
 17               The one issue that we at least would flag to consider
 18    depends in part on the outcome of the motions to compel that
 19    are pending. Whether plaintiffs have to do additional searches
 20    and collections and review and production will, I expect,
 21    impact that schedule, especially to the extent that, you know,
 22    to date defendants' counsel has not wanted to take depositions
 23    until all of the documents are, you know, produced and in their
 24    hands.
 25               So if it takes us several weeks to produce documents
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  1    and then, you know, defendants' counsel wants to review those
  2    documents before taking depositions, then we're looking at all
  3    these depositions sort of being jammed at the end of that
  4    schedule. So that's the only concern that we would raise with
  5    the calendar.
  6               THE COURT: All right. So what if I have discovery
  7    close July 15th?
  8               MR. NELSON: No objection from defendants.
  9               MS. HENNER: No objection from plaintiffs, Your Honor.
 10    Obviously we'll do our best to act quickly.
 11               THE COURT: All right. So I'll have discovery close
 12    July 15th. The expert reports will be due August 19th. Then
 13    I'll have the rebuttal expert reports due September 16th, and
 14    we'll have expert discovery close on November 18th. Then I'll
 15    set the dispositive motion briefing schedule. Any motions for
 16    summary judgment are due December 16th, responses are due
 17    January 20th, and replies are due February 3rd. Then I will
 18    have you back for a ruling June 6th.
 19               All right. Then to turn to your motions to compel,
 20    the first one I have is for the franchise agreement. So what I
 21    don't understand is this. You know, I get that the plaintiff
 22    doesn't want or that the plaintiffs don't want to put their
 23    franchise agreement out there. What I guess I'm having a
 24    little bit of trouble with is why marking it highly
 25    confidential or attorneys' eyes only wouldn't create sufficient
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  1    protection to just turning over the agreement.
  2               MS. HENNER: Your Honor, this is Lindsay Henner again
  3    for plaintiffs. I understand what Your Honor is saying. I
  4    can, you know, speak on behalf of the clients. Having worked
  5    with them for awhile, they feel very, very strongly about the
  6    confidentiality of their franchise agreement, not just the
  7    confidentiality of that agreement but the proprietary nature of
  8    that agreement. You know, it's a work in progress over years
  9    and years and years, and I know that they engaged a specific
 10    group of attorneys and have, you know, searched for specific
 11    attorneys to work on this agreement and, you know, put it in
 12    the best position to be competitive in this space.
 13               So I think in this case there's a concern about,
 14    number one, having to produce it in its entirety for, you know,
 15    no other purpose than an interest in seeing irrelevant parts of
 16    the agreement. There's also a concern that defendants'
 17    business model is one that is -- well, if not already a
 18    franchise, it is set up to be a franchise. In particular with
 19    the expansion of, you know, legalization of the cannabis space
 20    on the federal level as different states adopt the legalization
 21    of cannabis, there's an opportunity for defendants to be a
 22    franchise.
 23               To the extent that, you know, their current counsel
 24    advises them in this case and other cases and on business
 25    matters, there's a concern that that knowledge, if held by, you
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  1    know, defendants' counsel, certainly there's no accusation that
  2    they would intentionally disclose information that's protected
  3    by a protective order, but to the extent that that informs
  4    somehow subconsciously their strategy in the future, that's
  5    something that our client feels very strongly about avoiding.
  6               So in order to, you know, meet the needs, the stated
  7    needs of defendants in this case, we've offered several
  8    compromise positions, including allowing defendants' counsel to
  9    look at the contents, the table of contents for that agreement,
 10    and identify sections that they want to see. They have not
 11    accepted that offer. They were not interested, I suppose, in
 12    considering, you know, what the actual subject matter of the
 13    agreement that they're asking for is, but we have, you know,
 14    done everything in our power to offer something short of just
 15    a, you know, flat turnover of the entire agreement that meets
 16    the needs that defendants say that they have for it.
 17               THE COURT: All right. What's defendants' position on
 18    looking at the table of contents and determining what you think
 19    is relevant?
 20               MR. NELSON: Your Honor, I'm just going to end up with
 21    a list of more questions. So, for example, a typical franchise
 22    agreement, you're going to have terms in there about quality
 23    control, the types of goods being supplied, how they're going
 24    to be supplied, advertising obligations, franchise fees.
 25               So assuming the table of contents has a heading that
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  1    matches these subjects, there are things that -- so, for
  2    example, you can have a 60-page franchise agreement which in
  3    the final paragraph says: Oh, by the way, all the fees
  4    mentioned in here, we're not actually charging you because this
  5    is a new concept.
  6               So how would I know that exists by looking at the
  7    headings? I'm not bringing that example up out of thin air.
  8    There is a franchise agreement. In the deposition we completed
  9    a few days ago, that's pretty much what was disclosed to us in
 10    the deposition, that there were no fees paid. So that's just
 11    one example of how, you know, looking at a table of contents is
 12    not going to give us the full picture and that trying to draw
 13    lines about this, you know, that this is an IP paragraph and
 14    this is not an IP paragraph, well, advertising and marketing
 15    and image, all those things are relevant to whether Edible
 16    Arrangements really is, you know, investing in its marks the
 17    way that it says it is.
 18               Also, if I can address the idea that our client might
 19    be a franchise in the future, that is purely speculative.
 20    Green Thumb is not a franchise. You know, it makes a nice
 21    story to say that a franchise agreement is proprietary, but,
 22    you know, I think trademark lawyers typically see dozens of
 23    these things throughout their careers. I'm not sure what could
 24    possibly be proprietary about it, especially given that some
 25    earlier version of it is already available in public dockets
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   1   from about eight years ago. It sounds nice, but I'm highly
   2   skeptical that that's actually true.
   3               THE COURT: All right.
   4               MS. HENNER: Your Honor, I'll just offer up that I
   5   have a response to some of the things that the defendants'
   6   counsel offered.
   7               THE COURT: Sure. Go ahead.
   8               MS. HENNER: So I would first note that, you know, a
   9   lot of the discussion was about things that aren't known, and
 10    I'm not sure how defendants could know that the table of
 11    contents won't be helpful to them without seeing it first. I
 12    would also point to the fact that, you know, the specific
 13    citation of the sections that was provided, that's more
 14    information than we've had to date about what defendants
 15    actually want to see in the franchise agreement.
 16                I would also offer that it speaks to, you know, the
 17    non-relevance of some of these portions of the agreement
 18    because, you know, the amount paid for a franchise fee is not
 19    relevant to the issues in this case. The example that
 20    defendants' counsel provided about, you know, a franchise
 21    agreement not being paid, that agreement was not a franchise
 22    agreement. That was a deal between an entity that was not
 23    operating as a franchisee on behalf of a third party company
 24    that is not a plaintiff in this case. You know, what was
 25    disclosed in that deposition was not, you know, whether a
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   1   franchise fee for a franchise agreement was being paid.
   2               I would still proffer that there's at least more
   3   conversation to be had, you know, whether Mr. Nelson has
   4   questions or not, about the table of contents. If he has
   5   questions, fine. We're happy to entertain them. But I don't
   6   think that, you know, the fact that he hasn't looked at the
   7   table of contents and he guesses that it won't be helpful means
   8   that the entire franchise agreement should be produced
   9   unredacted.
 10                THE COURT: All right. So I think in order to kind of
 11    get this moving, I would like plaintiffs to present or provide
 12    to the defendants the table of contents and have defendants go
 13    through that and identify the sections that you believe are
 14    relevant and that you would like to see. Then once you've had
 15    a chance to look at those, if you believe that those sections
 16    cross-reference other sections that you didn't ask for, then
 17    you can go ahead and ask the plaintiffs for those sections as
 18    well once you've identified the ones that you want and you've
 19    reviewed those.
 20                If you have any issues, then what I want you to do is
 21    provide me with the franchise agreement, and I'll review it and
 22    then determine the -- you know, let me know which sections the
 23    defendants have received, and then I'll look and see if there
 24    are any additional relevant sections and order plaintiffs to
 25    provide those to defendants.
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   1               MS. HENNER: Understood, Your Honor. Thank you.
   2               THE COURT: All right. Then the next one is the
   3   consumer complaints. So what's the volume of the complaints?
   4               MS. HENNER: This is Lindsay Henner. I can't answer
   5   that with specificity, but I think that the reasons are set out
   6   in our position statement in that it is not something that can
   7   be identified, you know, just by a search term. So I can't say
   8   how many Edible has in total complaints. There, you know,
   9   could be thousands and thousands and thousands, but the
 10    quantities that we do have are, you know, the ones that we have
 11    offered as part of a compromise solution to defendants'
 12    counsel, which combined with what's already been produced and
 13    what we were willing to do as a compromise is more than a
 14    hundred different complaints.
 15                You know, to require Edible to look into its customer
 16    service email account and identify all of the complaints in
 17    there would ultimately require either, you know, an
 18    email-by-email review substantively by a review team or just
 19    sort of a wholesale throwing over the wall to defendants'
 20    counsel everything in the email account. While it may, you
 21    know, save costs not doing a linear document-by-document
 22    review, the volume of that information is itself expensive,
 23    very expensive to process and produce.
 24                Our position statement references -- and I can confirm
 25    it with even more detail now -- that just the search term
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   1   collection and production for, you know, the previously agreed
   2   search terms which were in all forms relatively narrow, you
   3   know, costs thousands of dollars. It's $10,000 just to load
   4   them into our database, you know, a hundred dollars an hour per
   5   person to do review, $10,000 or more just to, you know, do a
   6   second level privilege review.
   7               So there are a significant number of costs and time
   8   that would need to be dedicated to conducting an additional
   9   search specifically for complaints to meet defendants' request
 10    solely based on wanting more of what it already has, and our
 11    position is that what they want to use these complaints for is
 12    not supported by the law. That's not the way that complaints
 13    are used in a trademark case.
 14                Typically the way that complaints are used is if there
 15    are complaints about the defendants' infringing products, those
 16    complaints are relevant to establish harm to the plaintiffs,
 17    but there are not cases -- and defendants haven't provided
 18    any -- that say that just amassing a quantity of complaints in
 19    discovery is going to tend to prove or disprove that there has
 20    been harm to the plaintiffs from an injunction perspective.
 21                In fact, in the time that we've had between the
 22    paperwork and this hearing, I found a case, a Southern District
 23    of New York case from just a few months ago that analyzes a
 24    similar issue, and it says, in essence, the defendants are
 25    arguing that there should be no injunctive relief because the
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   1   plaintiff's reputation is already damaged by negative reviews,
   2   but the Court notes that there's no case law supporting that
   3   proposition and that injury to a plaintiff's reputation and
   4   goodwill is not something that requires a showing that the
   5   plaintiffs' reputation is free from existing damage.
   6               So the relevance argument here for defendants is not
   7   one that's recognized by the law, and in view of that and the
   8   burden to do an additional collection and the compromises
   9   already offered that gives defendants, you know, more than 100
 10    instances of complaints with plenty more available on social
 11    media is just simply not proportional to the needs of this case
 12    and not even proportional to the arguments that defendants want
 13    to use the complaints for.
 14                THE COURT: So my question in reading this, the
 15    question I got is that Edible does not have a way of separating
 16    or keeping track of customer complaints. Is that correct?
 17                MS. HENNER: There is not a tracking system. So there
 18    is an email account that is a customer service email account.
 19    These emails come in and are dealt with by a customer service
 20    team, but there's not a tracker for that information, you know.
 21                THE COURT: And my understanding is that it could be
 22    anything from, you know, that the arrangement went to the wrong
 23    address, to that it was late, to you sent the wrong thing, to I
 24    talked to somebody in customer service and I want to give
 25    them -- you know, I want to say what a great job they did.
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   1               MS. HENNER: That's correct, Your Honor. I appreciate
   2   the last example that you gave because the customer service
   3   account is not one that is, you know, a 1-800 complaint line.
   4   It has, you know, options for customers to write in about
   5   changing an order or, you know, customers may write to that
   6   account if they want to have a credit card payment reversed or
   7   they want to change their delivery date or they want to cancel
   8   an order.
   9               So there are all different kinds of inquiries that
 10    customers could make to the customer service account, and in
 11    order to sort the complaints from the praise or just the
 12    routine business communications would be a burden, especially
 13    for this purpose.
 14                THE COURT: All right. My understanding is that
 15    Edible is willing to provide the 95 that you've identified.
 16                MS. HENNER: That's correct, Your Honor.
 17                THE COURT: All right. Do defendants want to add
 18    anything?
 19                MR. NELSON: I would like to, Your Honor.
 20                THE COURT: Sure. Go ahead.
 21                MR. NELSON: On relevance, I would first point out
 22    that their own complaint, these are quotes from their own
 23    complaint:
 24                "Edible's success is a direct result of its commitment
 25    to providing a consistent high-quality and beautifully designed
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   1   product. They consistently deliver high-quality confectionary.
   2   Edible's business is predicated on the high quality of its
   3   fruit confection and other food and gift related goods."
   4               The plaintiffs themselves have made the quality of
   5   their products relevant. The other reason customer complaints
   6   are relevant is because they are direct evidence of how the
   7   consumers perceive the brand. For example --
   8               THE COURT: Right, but I guess, just to short-circuit
   9   you because we still have one more to go through and I have to
 10    go do a change of plea at 3:00, you know, this information, you
 11    know, can certainly come from the plaintiff, but this
 12    information is also publicly available, right?
 13                MR. NELSON: No, it's not.
 14                THE COURT: You can go on the email.
 15                MR. NELSON: It's not the ones that went to their
 16    email address.
 17                THE COURT: Perhaps, right? But you also have Yelp,
 18    right? If you go on Yelp and you type in "Edible
 19    Arrangements," you'll get a slew of complaints there that are
 20    publicly available.
 21                MR. NELSON: Sure. If plaintiffs are --
 22                THE COURT: Right?
 23                MR. NELSON: Sure. If plaintiffs are sitting on
 24    emails that say "you guys have no business being in the edible
 25    cannabis business," then plaintiffs get to not produce that?
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   1               THE COURT: Well, no.
   2               MR. NELSON: Because that's highly relevant to this
   3   case, and we've already identified some public comments like
   4   that. So --
   5               THE COURT: But here's the thing. All right?
   6   Plaintiffs are going to provide you with the 95 that they have
   7   identified in going through their searches. I'm just not
   8   willing to make them go through and look at all of these emails
   9   to determine which ones are complaints, and then what's the
 10    significance of each individual complaint, right?
 11                So there's a big difference between saying, for
 12    example, "the quality of your product is garbage, and I would
 13    never order from you again" to "hey, dummy, you sent it to the
 14    wrong address" or "this isn't what I ordered" or "you charged
 15    me twice."
 16                MR. NELSON: Right.
 17                THE COURT: Those are all different.
 18                MR. NELSON: Sure.
 19                THE COURT: "You charged me twice" doesn't go to
 20    confusion or reputational harm. "You sent this to the wrong
 21    address" doesn't go to confusion or reputational harm. "The
 22    quality of your product is garbage and you should never get
 23    into edible marijuana or edible anything ever," okay, that
 24    would be relevant. But this has to be proportional, and at
 25    this point I don't think that the proportionality is there.
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   1               MR. NELSON: Judge, I would just point out that they
   2   could -- since these are communications from third parties and
   3   there's no confidentiality, they could just throw them all over
   4   the wall to us. Of course, we would protect consumer
   5   information under the local rules and protective order, but
   6   there's no burden on them in doing that. We can go dig through
   7   and find the relevant ones. It's just sort of the whole email
   8   box of what came in from the outside. That's easy to do. Send
   9   it over.
 10                MS. HENNER: Your Honor, if I could respond briefly to
 11    that.
 12                THE COURT: Go ahead.
 13                MS. HENNER: I've already stated on this call today
 14    why an over-the-wall production of our entire customer service
 15    email account is a burden. Regardless of whether it requires
 16    contact attorneys to do a review for responsiveness or not, the
 17    volume of that information, I mean, I can't understate it.
 18    Edible sells millions of products and has sold millions and
 19    millions of products over the course of its business.
 20                So to say that, you know, it would be easy to collect
 21    and produce an entire email account to the defendants because
 22    they're interested in, you know, flipping through each and
 23    every one of those to find complaints, it's a fishing
 24    expedition, first of all, and it's a disproportionate demand
 25    for a volume of information that is -- you know, as Your Honor
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   1   noted, there's plenty of instances online.
   2               And just to add a finer point to it, I offered to
   3   defendants to capture social media comments that contain
   4   complaints as part of an additional collection just to put an
   5   Edible Bates number on it and, you know, to produce it because
   6   it's in our control, you know, to meet in the middle on that
   7   point.
   8               So it's not a straightforward, easy thing to do to
   9   take an entire customer service account for millions of orders
 10    and send it over to defendants to review, and it does not give
 11    us an opportunity to, you know, catch any instances where
 12    forwarded emails to counsel are included or something to that
 13    effect.
 14                So I just will never get to the end of discovery in
 15    this case if defendants, as they have so far, just are waiting
 16    to have in their possession and review each and every document
 17    that could possibly be disclosed in discovery, and we certainly
 18    would be waiting a long time for defendants to do their own
 19    linear review.
 20                MR. NELSON: Your Honor, I know you've got other
 21    things to do. As one final point, I'm looking at their website
 22    right now, and there's a drop-down that lets the customer
 23    choose the quality of product as a complaint. So this contact
 24    form is feeding a database. They certainly can sort and
 25    produce the emails where the customer clicked that, and that
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   1   would be just the relevant category of documents we just
   2   discussed.
   3               MS. HENNER: And I disagree. I disagree with that,
   4   Your Honor. It assumes that everybody who uses that form
   5   actually selects things appropriately, and I cannot say in the
   6   email that's delivered to Edible that, you know, there's a
   7   quality concern that is a complaint. It's still overbroad and
   8   requires a review, and to the extent that, you know, defendants
   9   are now saying that the only complaint that they're concerned
 10    about is quality, I've never heard about that before. They're
 11    not only concerned about quality complaints. They want
 12    literally every complaint about anything that's come into
 13    Edible for millions of sales over years.
 14                THE COURT: All right. So I'm going to have Edible
 15    provide the 95 complaints that it already identified. Edible
 16    has said it can capture social media comments.
 17                MS. HENNER: That's right, Your Honor. We can do
 18    essentially a scrape of our social media account to try and
 19    capture comments.
 20                THE COURT: All right. So let's start with those. If
 21    defendants believe that that doesn't give you enough -- so in
 22    order to make your argument, it's not necessarily that, you
 23    know, more is better. It's to establish: Here's the harm, and
 24    because of these complaints there is no harm. What's said on
 25    social media, you know, this is really the reputation of Edible
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   1   at large, so they're not being harmed.
   2                   Obviously, I would assume that the response to that
   3   by Edible is not going to be: Well, you know, these are only
   4   95 complaints out of millions of communications that we
   5   received.
   6               Right? Obviously, that's not a fair response.
   7               MS. HENNER: That's correct, Your Honor.
   8               THE COURT: So let's start there. Then if there are
   9   still issues, then come back to me.
 10                Then the last one is for the production of enforcement
 11    with regard to these other cases, these 28 cases. So I don't
 12    believe that defendants have necessarily told me what it is
 13    that they're still looking for or why. You know, the discovery
 14    deposition transcripts, expert reports, and settlement
 15    agreements, you know, that's essentially the entire case file,
 16    right?
 17                MR. NELSON: Well, it's not discovery or document
 18    production. It's not pleadings. I don't think that's the
 19    entire case file, no.
 20                THE COURT: All right. So here's the -- all right.
 21    So, you know, you've got the complaint which you can pull off
 22    because you were able to figure out these 28 cases.
 23                MR. NELSON: Yep.
 24                THE COURT: You know, so you didn't need to ask for
 25    that because you can get that. But, you know, the written
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   1   discovery, even if you don't get the production, that's still a
   2   lot, as is the deposition transcripts and the expert reports.
   3   You know, I guess what I was looking for was something that is
   4   more targeted and that you are specific, you know, that you're
   5   able to tell me that this is what you need and why.
   6               MR. NELSON: Well, Your Honor --
   7               THE COURT: And I didn't really get that from your
   8   motion.
   9               MR. NELSON: Understood. I think the issue is that
 10    this seems like a lot of cases, but it's not. I mean, it's not
 11    defendants' issue that plaintiff is litigious. These are all
 12    trademark cases. These are all trademark cases about the marks
 13    that are at issue in this case.
 14                So when we say expert reports, I'm expecting those
 15    expert reports to be survey evidence and expert reports about
 16    the strengths of the marks, et cetera, the marks that are at
 17    issue in this case. These are prior statements by the
 18    plaintiffs about the facts at issue in this case.
 19                The deposition transcripts, I expect the deposition
 20    transcripts to be about the strength of their marks and the
 21    scope of their marks and the kinds of products they apply their
 22    marks to and the consumer perception of their marks. So those
 23    are Edible Arrangements prior statements about the allegations
 24    it's made in this case, right? So, you know, here they're
 25    making the same types of allegations.
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   1               So these cases are all trademark cases. They're all
   2   cases that, you know, they made the same kinds of allegations.
   3   In a typical trademark case, you're going to have a survey
   4   expert and you're going to have a damages expert if the case
   5   went that far. I doubt anywhere near all 28 of them went that
   6   far. Then you've got settlement agreements which are in effect
   7   trademark licenses, so the settlement agreements for each of
   8   these cases are going to be relevant to the damages analysis in
   9   this case.
 10                The plaintiffs have already abandoned a lost profits
 11    theory. They've elected not to produce to us any profit
 12    information, which means that we're almost certainly going to
 13    be exchanging expert reports on the issue of reasonable
 14    royalty, and settlement reports are commonly and always, you
 15    know, accepted as part of that process. Plaintiffs always want
 16    to minimize their impact and defendants always want them, but
 17    typically they're produced and analyzed by the experts.
 18                On the expert reports, this being a trademark case,
 19    we're going to be doing the infringement surveys and the other
 20    surveys. To the extent those surveys on the marks that are
 21    being asserted in this case exist in these other litigations,
 22    then they're clearly highly relevant.
 23                The deposition transcripts, you know, we're trying to
 24    get depositions of the witnesses lined up, but I'm expecting
 25    that there are other deposition transcripts of these same
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   1   witnesses on these same issues. So these are all the same
   2   issues.
   3               THE COURT: Okay. So, you know, I hear you with
   4   regard to, for example, the experts and that you could
   5   certainly ask Edible about the experts that it has used in past
   6   litigations and ask for their depositions in these past
   7   litigations, the past litigations. You know, yes, that would
   8   be relevant and at some point, you know, when the expert has to
   9   provide his or her expert report, that information needs to be
 10    in there anyway.
 11                But, you know, there are going to be, I would imagine,
 12    depositions that were taken in this case that are unique to
 13    this case and may not be relevant in any other case. That
 14    would be true of other cases. Some of those depositions are
 15    unique to those cases and are not necessarily relevant to this
 16    case.
 17                MR. NELSON: That's entirely possible, Your Honor, but
 18    we can't get simple things like lists to further that
 19    discussion. I can't get a list of who were the witnesses in
 20    these cases, what depositions exist, are there expert reports.
 21    We haven't been able to get the discussion to go that far. We
 22    couldn't even get them to give us a list of cases.
 23                MS. HENNER: Your Honor, if I could respond to that
 24    briefly.
 25                THE COURT: Go ahead.
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   1               MS. HENNER: I personally, I could be mistaken, but I
   2   personally have no recollection of being asked to provide a
   3   comprehensive list of trademark cases that Edible has been
   4   involved in. I would also say, you know, I'm surprised to hear
   5   again on this call that all of these cases on this list are
   6   trademark cases that involve the marks at issue here and the
   7   issues that are in this case because there are a number that
   8   are not.
   9               The burden that defendants want to pass to plaintiffs
 10    is to, you know, tell them which one of these cases on this
 11    list are not relevant, but they're not even doing their own,
 12    you know, basic due diligence to understand what they are
 13    asking for today.
 14                You know, it's easy to come into a hearing and say,
 15    you know, expert reports are one example of what we need, but
 16    included in the request that they're advocating right now are
 17    RFP requests and responses, which no substantive, you know,
 18    analysis of the issues is going to be in those discovery
 19    requests.
 20                So, you know, even further on the issue of expert
 21    reports, other written discovery in this case has covered
 22    surveys, analyses, research conducted directly related to the
 23    asserted marks, and that's something that we agreed to search
 24    for and produce to the extent that it exists. So it doesn't
 25    need to be compelled through this motion to get other, you
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   1   know, analyses of the associated marks. Those were negotiated
   2   in the context of different discovery.
   3               To the extent that, you know, they say there's only 28
   4   cases on this list, in fact, they had reached an agreement or
   5   offered an agreement with the law firm that limited the scope
   6   of the time period to, I believe, ten years. That agreement
   7   has not been offered to Edible. So what they're asking for now
   8   is to go back even further than the 2012 case that I believe
   9   might be the oldest one on this list and, you know, collect
 10    information from so long ago it can't be relevant anymore
 11    because the circumstances have changed.
 12                Not one of these cases invalidates Edible's marks;
 13    otherwise, we wouldn't be asserting them in this case. Most of
 14    the cases that involve the Edible marks that are asserted in
 15    this case don't have defenses raised against their validity,
 16    and to the extent there were, you know, meaningful, substantive
 17    challenges, you know, on the issues involved in the prior
 18    cases, there is quite a bit of briefing on the public docket.
 19                So in all of that context, I can't agree that this
 20    information and certainly not the scope that's being requested
 21    by defendant should be produced.
 22                THE COURT: All right. So with this last one then,
 23    you know, at this point I do think that the request still needs
 24    to be narrowed like I asked. The other observation that I'm
 25    going to make is, you know, I think both sides are trying to
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   1   represent their clients very vigorously. In not cooperating
   2   with each other, I think you're each doing your client a
   3   disservice. The litigation in this case, even though your
   4   client might be litigious, it doesn't need to be this hard or
   5   complicated.
   6               I think that it's entirely relevant and appropriate
   7   for defendants to ask about how the plaintiffs have tried to
   8   assert their marks over time, specifically the marks at issue
   9   in this case. What's not appropriate or okay is, you know, for
 10    either side to make broad requests or to hide behind very
 11    generic objections.
 12                So what I'd like you to do is to go back and talk to
 13    each other with the sense of mutual cooperation and try to
 14    identify, if you can, you know, what the defendants need on the
 15    particular topic of asserting its marks, having Edible assert
 16    its mark, and what is reasonable for the plaintiffs to provide.
 17                I don't necessarily see how discovery requests are
 18    going to be relevant to this issue. I could be way off base,
 19    but I don't readily see the relevance there. Now, you know,
 20    when it comes to expert reports, I think that certainly those
 21    would be relevant. But again, if they're being asked in a
 22    different context and coming through a different vehicle, as
 23    long as you get it, it doesn't really matter.
 24                So go back and talk to each other. If you're still at
 25    an impasse, come back to me. But I need the motion to compel
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   1   to be a bit more specific, particularly on this issue.
   2               MS. HENNER: Understood, Your Honor. Thank you.
   3               MR. NELSON: Thank you, Your Honor.
   4               THE COURT: All right. So it looks like our next
   5   ruling date will be July -- I'm sorry -- June 6th, 2023, for a
   6   ruling on the summary judgment motions. I haven't asked. I'm
   7   sure of the answer, but I'm going to ask anyway. Have you had
   8   any settlement discussions? Is there any interest in
   9   settlement at all?
 10                MS. HENNER: Your Honor, this is Lindsay Henner for
 11    plaintiffs. There have been settlement discussions. The
 12    parties have exchanged offers relatively recently, at least
 13    within this calendar year. There is, I think, a fundamental
 14    disagreement in what would be required to settle the case, but
 15    there have at least been, you know, positions exchanged.
 16                THE COURT: Would the parties be interested in a
 17    referral to the magistrate judge for a settlement conference?
 18                MR. NELSON: I think the best time --
 19                MS. HENNER: We're --
 20                MR. NELSON: If I may.
 21                MS. HENNER: I'm sorry. Go ahead.
 22                MR. NELSON: I think the best time to do that, Your
 23    Honor, is after we've had a chance to take depositions.
 24                THE COURT: All right. So this is what I'm going to
 25    do. I will enter the referral to the magistrate judge today.
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   1   You can then schedule the settlement conference for sometime
   2   towards the close of discovery. If we need to bump out the
   3   expert schedule, that's fine. Just let me know, but it would
   4   probably make sense to try to have this settlement conference
   5   before you spend money on experts. You're not going to see
   6   anybody for two months anyway, at which point you should be
   7   towards the end of discovery. Does that make sense?
   8               MS. HENNER: Yes, Your Honor.
   9               MR. NELSON: That works for defendants, Your Honor.
 10                THE COURT: All right. Then I'll either see you on
 11    June 6th, a year from now, for a ruling, or if you need to file
 12    anything before then, just let me know.
 13                MS. HENNER: Thank you, Your Honor.
 14                THE COURT: All right. Thank you.
 15                MR. NELSON: Thank you, Judge.
 16          (Proceedings concluded.)
 17                               C E R T I F I C A T E
 18             I, Patrick J. Mullen, do hereby certify that the
       foregoing is a complete, true, and accurate transcript of the
 19    proceedings had in the above-entitled case before the Honorable
       SARA L. ELLIS, one of the judges of said Court, at Chicago,
 20    Illinois, on April 7, 2022.
 21                                       /s/ Patrick J. Mullen
                                          Official Court Reporter
 22                                       United States District Court
                                          Northern District of Illinois
 23                                       Eastern Division
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